959 F.2d 243
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Alonzo Daile NESBITT, Defendant-Appellant.
    No. 91-30124.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted Jan. 10, 1992.Decided April 3, 1992.
    
      Before EUGENE A. WRIGHT, WILLIAM A. NORRIS, and CYNTHIA HOLCOMB HALL, Circuit Judges.
    
    
      1
      ORDER*
    
    
      2
      For the reasons set forth in the District Court's orders of January 2, 1991, and January 8, 1991, the judgment is AFFIRMED.
    
    
      
        *
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    